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 4   Attorney for Plaintiff
 5
 6
 7
                          UNITED STATES DISTRICT COURT
 8
                           FOR THE DISTRICT OF ARIZONA
 9
10                                                 Cause No. 2:21-cv-01430-CDB
     ROBERT WILLIAMS,
11
                          Plaintiff,
12                                                 NOTICE OF SETTLEMENT
                        -vs-
13
14
     WENDY’S PROPERTIES LLC,

15
                          Defendant.

16
17
             Pursuant to LRCiv 40.2, counsel for the parties that have appeared in this
18
     matter hereby advise the court that the parties have reached a settlement in the
19
20   above-entitled matter. The parties shall file a joint stipulation to Vacate the
21
     Scheduling Order and dismiss this claim subsequent to this Notice upon execution
22
23   of all necessary paperwork.

24
25
      DATED this 14 February 2022
26
27                                           Respectfully submitted,



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 1
 2                                    /s/ M. William Judnich
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